 

B1040 (FORM 10487 GS rs} 04019-KKS Doc 19-1

Filed 07/27/21 Page 1 of 30

 

ADVERSARY PROCEEDING COVER SHEET

Cnstructions on Reverse)

ADVERSARY PROCEEDING NUMBER
(Court Use Only)

 

 

PLAINTIFFS
Julian Rodney Rooks Jr.- self represented

DEFENDANTS St. Joseph’s College of Maine
st. Matthew’s University Inc.
St. Matthew’s University (Cayman) Ltd.
United States Department of Education

 

 

 

ATTORNEYS (Firm Name, Address, and Telephone No.) | ATTORNEYS (If Known)
PARTY (Check One Box Only) PARTY (Check One Box Only}
ebtor 0 U.S. Trustee/Bankruptey Admin oO Debtor G U.S. Trustee/Bankruptcy Admin
a Creditor o Other ab crecitor Other
mi Trustee O Trustee

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL USS. STATUTES INVOLVED)

I- Fraudulent misrepresentation, I- Negligence, IT]- Breach of Contract (intentional/non-intentional),
IV- special damages, V- Fraudulent/Negligent misrepresentation.

 

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

 

PRBP 70011) — Recovery ef Money/Property
Ed i]-Recovery of money/property - §542 turnover of property
C] {2-Recovery of money/property - §547 preference
rl 13-Recovery of money/property ~ §548 fraudulent transfer
id4-Recovery of money/property - other

FRBP 7601(2) — Validity, Priority or Extent of Lien
Cl 21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
i 3i-Approval of sale of property of estate and of a co-owner - §363(h}

FRBP 7001(4) — Objection/Revocation of Discharge
Ct 41-Objection / revocation of discharge - §727(c)},(d),(e)

FRBP 7001(5) ~ Revocation of Confirmation
S1-Revocation of confirmation

FREP 7061(6) — Dischargeability
E] 66-Dischargeability - §523(a}{1),(14),(14A) priority tax claims
62-Dischargeability - §523(a}(2), false pretenses, false representation,
actual fraud
tI 67-Dischargeability - §523(a\(4), fraud as fiduciary, embezzlement, larceny

{continued next column)

FREP 7001(6) — Dischargeability (continued)
LJ 61-Dischargeability - §523(a)(5), domestic support
EI §8-Dischargeability - §523{a}6), willful and malicious injury
63-Dischargeability - §523(a}(8}, student loan
EL §4-Dischargeabiltty - §523{a}(15), divorce or separation obligation
(other than domestic support}
65-Dischargeability - other

FREP 7061 (7) — Injunctive Relief
71-Injunctive relief — imposition of stay
[_] 72-tnjunctive relief — other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(16) Determination of Removed Action
01-Determination of removed claim or cause

Other

[] ss-SIPA Case~ 15 U.S.C. §§78aaa et.seq.

CI 02-Other (¢.g. other actions that would have been brought in sfate court
if unrelated io bankruptcy case}

 

O Check ifthis case involves a substantive issue of state law

Check if this is asserted to be a class action under FRCP 23

 

Check ifa jury trial is demanded in complaint

 

Demand $ 419,656,000.00

 

Other Relief Sought

Any such other and further relief as this Court may deem just and proper.

 

 

 
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B104¢ (FORM 1040) (12/15)
BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR BANKRUPTCY CASE NO.
Julian Rodney Rooks Jr. 21-40139-KKS
DISTRICT :N WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Northern District of Fionda Tallahassee Honorable Karen K. Specie
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY (OR PLAINTIFF) LDL R200 etl Y3Zp-C
7 _ a
f ; de», PATREKA DANIELS
li 4 fh bot Jb ;, = Commission # GG 917453
‘ “ 3? Expires January 27, 2024
OEeSP Bonded Thu Troy Faia Insurance 800-385-7048
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)
Le (2 ez; (202 l Julian Rodney Rooks Jr.

 

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
Jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

4 party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filirg system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
compleied, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff ifthe plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Piaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.
Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover slicet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must siga. If the plaintiff is pro se, that is, not represented by an
atlorney, the plaintiff must sign.

 

 

 
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

 

 

TALLAHASSEE DIVISION
In re: Case No. 21-40139-KKS
Chapter 7
Julian Rodney Rooks Jr, self represented
Debtor.
/
Julian Rodney Rooks Jr. self represented Adv. No.
Plaintiff,
v.
St. Joseph’s College of Maine,
St. Matthew’s University (Cayman) Ltd.,
St. Matthew’s University Inc.
United States Department of Education,
Defendants.
/
OATH AND AFFIDAVIT

1, Julian Rodney Rooks Jr., am the Plaintiff in the above titled action. I have read
the foregoing complaint. The facts stated therein are within my knowledge and are true
and correct, except those matters stated on information and belief, and, as to those, I
believe them to be true and correct. I declare under penalty of perjury under the laws of
the State of Florida that the foregoing is true and correct.

DATED: Th2fror

5)

 

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Sey, PATREKADANIELS

fe + Commission # GG 917453
> Expires January 27, 2024

Sore Bonded Thru Troy Fain Insurance 800-385-7619

 

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RESPECTFULLY SUBMITTED,
PLAINTIFF

Mls, NA gl foes J Ae

Aalién Rodney Rooke fr.

 

3648 Dartford Lane
Tallahassee, Florida 32311
(850) 364-0312

 

 

 

 

 
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

 

TALLAHASSEE DIVISION
In re: Case No. 21-40139-KKS
Chapter 7
Julian Rodney Rooks Jr, self represented
Debtor.
/
Julian Rodney Rooks Jr. self represented Adv. No.
Plaintiff,

¥.

St. Joseph’s College of Maine,

St. Matthew’s University (Cayman) Lid.,
St. Matthew’s University Inc.

United States Department of Education,

Defendants.

 

COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT
JURISDICTION AND THE PARTIES

i. This Court has jurisdiction under 28 U.S.C.§ 1334 because Plaintiff’s
dischargeability complaint arises under Title 11.

2. This is a core proceeding pursuant to 28 U.S.C. §157(a), (b)(1) and (b)(2)
(1) and (b){(5).

 
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3. This is an action seeking a determination of dischargeability of student
joan debt due to certain Defendants’ false representations, written misrepresentations, —
and/or fraud, Defendant U.S. Department of Education’s refusal to discharge said debt
and/or alternatively a determination of dischargeability pursuant to 11 U.S.C. §523{a)
(8)(A) and (B) and to recover damages.

4. Plaintiff Julian Rodney Rooks Ir. is an individual living in Tallahassee, FL.
who filed a Chapter 7 bankruptcy petition on April 15, 2021 in case number 21-40139-
KKS.

5. The Department of Education (ED) is an agency of the United States
government holding Plaintiff’s educational debts of approximately $226,410.39.

6. Upon information and belief, Defendant St. Matthew’s University Inc., a
Delaware corporation and St. Matthew’s University (Cayman), Lid., a Cayman Islands
corporation doing business as St. Matthew’s School of Medicine, are related and
collectively referred to in this complaint as (SM).

7. Defendant St. Joseph’s College of Maine (SJ), is an educational institution
located in Standish, Maine. SJ offered a Graduate Degree study program to SM students.
It was SJ’s Title IV Stafford Loan Program that was the source of the Higher Education
Act (HEA) funds at issue in this complaint.

8. Venue is proper because Plaintiff resides in Leon County and filed for
Chapter 7 relief in the Northern District of Florida.

FACTUAL ALLEGATIONS

9. In 2019, the American Medical Association reported that 23.6% of U.S.
Physicians were International Medical Graduates (MG’s). Students attend the first half
of medical school at a foreign campus and then return to the U.S. to complete 2 years of

clinical training.

 
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10. Plaintiff attended The Florida State University from 1988-1991 earning a

degree in Biological Sciences. He worked 30-40 hours per week to pay tuition and
expenses, received a grant his senior year and had no education Joans prior to medical
school.

ll. Plaintiff was the first in his family to complete university but he was not
wealthy and relied on Title I'V Stafford Loans and private loans to attend medical school.
He looked for a school that offered Stafford Loans and in 1993 successfully completed
semester 1, took an approved leave of absence, returned to Tallahassee, divorced and
when he was ready to return the school was destroyed by a volcano.

12. Plaintiff found another medical schoo! that offered Stafford Loans and
successfully completed semester 2 in 1997. During this time, the military was on the
sireets, no one was allowed out and he watched running gun battles as a coup attempt
unfolded. Plaintiff retumed to Tallahassee and began locking for another school with
Stafford Loans.

13. Plaintiff completed medical school from semester 3 to the end at SM while
attending SJ’s distance education program through most of this time. He completed all
coursework on the first attempt with a passing score and was never the subject of any
disciplinary action by either defendant or any other medical school.

14. In jate 1998, Plaintiff spoke by telephone from Tallahassee with SM’s Vice
President Dr. Jerry Thornton who stated to him that SM had US government student
loans and that he was on the faculty of the first medical school he attended and on the

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cover of its catalog. SM sent a catalog to Plaintiff in Tallahassee listing Dr, Thornton
under “St. Matthew's Faculty” (exhibit 1). Plaintiff applied to SM about November 30,
1998, paid about $75.00 and received an acceptance letter a few days later.
15. SM was not eligible to receive Title IV student loans.
Count I- Fraudulent misrepresentation/Negligent misrepresentation.

16. _ Plaintiff incorporates paragraphs 1-15 above as though fully restated
herein.

17. Defendant SM’s Vice President, Dr. Jerry Thornton, made a false
representation of a material fact, that his school had US government student loans, that he
knew or should have known was false, or the representation was negligently made.

18. Defendant SM’s Vice President’s misrepresentation, was intended to
induce Plaintiffs reliance. Plaintiff's reliance, both actual and reasonable, was
detrimental and Plaintiff suffered harm/damages.

19. After several calls to SM to make arrangements, Plaintiff learned in a
round-about way that he would have to apply to SJ’s Graduate Studies program in order
to receive the Stafford Loan. .

20. In January, 1999, Plaintiff again spoke to Dr. Jerry Thorton by telephone
from Tallahassee (exhibit 4). Dr. Thornton told him to use the Stafford Loan to pay
tuition to SM, what he called an incentive of $750.00 refunded to the Plaintiff fom SM
to pay half of SJ’s tuition and offered to defer $2,400 in tuition. Plaintiff sent an

application to SJ in Maine in January 1999.

 
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MOVE FROM TALLAHASSEE TO BELIZE

21. Plaintiff moved from Tallahassee to Belize about January 12,1999. In.
January 1999, 2 envelopes arrived at Plaintiff’s parent’s home (his US mailing address),
postmarked January 7, 1999 (exhibits 2 and 3). The letters inside these envelopes siate:
“Dear Incoming St. Matthews Student: We have been advised that you have been
accepted by the St. Matthews University School of Medicine and that you intend to apply
for admission to the Master in Health Services Administration (MHSA) Program at St. .
Joseph’s College.”, “I preregistered you for HSA 515 and HSA 575 today” and “each
time you reenroll.”.

22. Plaintiff alleges an agreement existed in January 1999 between defendants
SJ and SM that SM would act, with authority, for the benefit of SJ and that SJ told SM
what to do (use it’s Title 1V Stafford Loan program) and how to do it (refund half of SJ’s
tuition to the student from the Stafford Loan funds as an “incentive”).

Count U- Negligence

23. Plaintiff incorporates paragraphs 1-22 above as though fully restated
herein.

24. Defendant SJ had a duty to exercise reasonable care. Defendant SJ failed
to exercise reasonable care of its Title [V loan program and that failure was the cause,
both actual and proximate, of Plaintiff's damages.

25. On March 10, 1999, Plaintiff emailed Dr. Thorton from the SM campus
in Belize notifying him of the arrival of the Stafford Loan in Plaintiff's U.S. bank. On
March 11, 1999, Dr. Thornton responded by email writing a repeat of what he offered

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Plaintiff about 2 months earlier by telephone and directed Plaintiff, in writing, to use
Statford Loan funds to pay tuition to SM (exhibit 4). Plaintiff initialed the printed email
and the SM clerk gave him this copy (exhibit 4). That same day, Plaintiff wrote a check
number 688 from the Stafford Loan fimds to SM for “3,250.00” {exhibit 5) and SM
cashed the check. A copy of this Loan Application is attached as exhibit 6.

26. ‘The letters “JR” appear beside the total amount. Plaintiff did not write this.
His initials are on the above email exhibit 4 and about 32 months later on exhibit 30,

27.  n 1999, Plaintiff received these 2 memos in his SM campus mailbox from
SJ (exhibits 7, 8).

28. When another Stafford loan arrived around October, Plaintiff wrote check
number 671 on October 8, 1999 from those Stafford funds to SM for “3 250.00” (exhibit
9) and SM cashed the check. SM’s Registrar gave Plaintiff a receipt number “065”
(exhibit 10). A copy of the Loan Application is attached as exhibit 11.

29. On 11-29-1999 Plaintiff met face-to-face with Renae M. Sersland, SM’s

Director of Financial Aid, who stated that he would be suspended if he did not pay the
amount Dr. Thornton offered to defer (exhibit 12), Plaintiff asked his parents, who had
purchased and moved into a home in Tallahassee, to apply for the loan (exhibit 13). It
was approved and the money was paid to SM by the lender (exhibit 14).

RETURN TO TALLAHASSEE FROM BELIZE
30. When Plaintiff returned to Tallahassee in January 2000, Dr. Thornton told

him Stafford Loans were no longer available, to call the school’s attomey and on

 
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4/22/2000, Roger C. Courtney Esq. sent this fax from 703-764-2509 at “GLOBAL
ED RESOURCES” (GER) to Plaintiff in Tallahassee detailing a loan from Student
Finance Corporation (SFC), hereinafter (the GER/SFC loan) (exhibit 15 ).

31. On 9/22/2000 the State of Florida administratively dissolved SM.

32. In late December of 2000, SFC mailed this Student Application (exhibit
16) and this Cosigner Application (exhibit 17) to Plaintiff in Tallahassee and SM’s
Registrar Gloria Miranda~Avila (Gloria) told Plaintiff to apply for $29,000 with his
parents as cosigners. A few days later, Gloria told him that the GER/SFC loan was
approved and his rotations were ready in Chicago and he moved from Tallahassee to
Chicago on or about 01/09/2001 and began clinical training.

33. Upon information and belief, none of these 3 entities, (SM, GER, or SFC)
possessed a license to conduct business in the State of Florida and was not licensed to
offer or execute contracts with Florida consumers.

. MOVE FROM TALLAHASSEE TO CHICAGO, ILLINOIS

34. Dr. Frank Olusegun Apantaku MLD. is listed in SM’s year 2000/2001
catalog on page 31 under “Clinical Faculty and Preceptors” (exhibit 18). He was SM’s
Clinical Coordinator for Plaintiff's clinical studies and he gave him this card at their first
meeting in early January 2001 (exhibit 19). His office was located in Suite 320 at 2222
West Division Street. Plaintiff took this picture in early 2001 and 2222 is visible on the
building he is in (exhibit 20). Plaintiff took this picture seconds later in the same room

which was directly adjacent te Dr. Apantaku’s office (exhibit 21). This is the room in

 
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which Plaintiff took each clinical core test. Dr. Apantaku’s office is directly through the
wail on the right. That office through the wall on the right was the office containing the
fax machine who’s number was 773-342-1010,
THE JUNE, 2001 EVENT

35. The following events described in this news publication occurred in early
June of 2001. In this local newspaper interview dated June 14, 2001, SM’s previous
owner describes a “hostile takeover” and “the newly elected President and Chief
Operating Officer of St. Matthew’s International, Dr. Jerry Thornton” and “Named as
director of Financial Aid was Gloria Miranda-Avila who works out of the Orlando,
Florida office” (exhibit 22). On June 28, 2001, the same publication printed “several
people involved in the takeover of administration were seen removing files from
administrative offices. Witnesses also observed shredded material in these offices after
that fact.” (exhibit 23).

36. Plaintiff alleges Defendant SM lost his medical school records during this
event.

37. Plaintiff was enrolled in SJ’s Distance Education Program at this time
(exhibits 24, 25, 26).

38. Plaintiff believes there was a fiduciary relationship and that one or both
had a duty to speak, however, neither ever gave any indication of this event or that the

records had been lost,

 
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Count IH- Breach of Contract {intentional/non-intentional)

39. Plaintiff incorporates paragraphs 1-38 above as though fully restated
herein.

40. Defendant SM committed the conduct purposefully, and with malice by
failing to tell him about the loss.

41. Defendant SM had a duty to exercise reasonable care. Defendant SM
failed to exercise reasonable care by losing Plaintiff’s medical school records when it
had a duty to keep them.

42. Defendant SM’s failure to exercise reasonable care was the cause, both
actual and proximate, of Plaintiff's damages.

43.  Acontract existed, both in writing and implied in fact between
Plaintiff and Defendant SM.

44. Defendant SJ is vicariously liable for the contract entered into by the agent
on their behalf.

45. Plaintiff spoke with Roger Courtney on 06/13/2001, at 4:57 {exhibit 27),
and on 07/05/2001, at 4:21 (exhibit 28). He told Plaintiff to continue paying SFC. About
3 hours later, at 7:45pm (exhibit 28), Plaintiff called his parents in Tallahassee and told
them what Roger Courtney said they should do and the next day, on 07/06/2001,
Plaintiff's spouse wrote check number 396 to SFC for $400 and SFC cashed the check

(exhibit 29). Mr. Courtney gave no indication whatsoever of the event Plaintiff alleges
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had occurred on or about 6/4 of 2001 or that he was no longer working for SM.

46. After this call, Mr. Courtney did not answer Plaintiff’s calls or return
his messages. Plaintiff and his parents never had any disagreement with Mr. Courtney and
always promptly followed his directions. Plaintiff developed a good report with Mr.
Courtney and had spoken with him so many times over the previous 14 months that a
running joke had developed between them which was that every time they spoke Mr.
Courtney was again having to pay to repair his daughter’s Chrysler Le Baron. Plaintiff
and his parent cosigners felt Mr. Courtney abandoned them.

RELEASE OF CLAIMS/NONDISCLOSURE AGREEMENT

47. On 08/20/2001 at 12:55, SM’s Registrar Gloria faxed to Plaintiff in
Chicago these 5 pages (exhibit 30) including a letter from Dr. Thornton stating “if you do
not agree with the “release of claims” form and are unwilling to sign it we cannot release
your Student Finance Corporation monthly funds.” This Release of Claims included a
nondisclosure agreement (NDA). Plaintiff would not have signed this agreement if he had
been aware of the loss of his records he alleges occurred about two months earlier. Two
days later on 08/22/2001, at 3:36pm, Plaintiff faxed the documents to the number Gloria
wrote on the first page which he believes was to the Maryland-Delaware-Virginia area
(exhibit 31).

48. Plaintiff invokes equitable estoppel to estop defendants from asserting a
statute of limitations/laches style affirmative defense.

49. On 12/10/2001, SM was reinstated as a Florida LLC.

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50. When SM failed to make any of the promised payments, Plaintiff called
Gloria who sent these documents to him in Chicago (exhibit 32). They are the only copies
Plaintiff can locate. Gloria stated to Plaintiff that because this loan was replacing the
GER/SEC loan he and his parents should back-date it to the date that was typed on the
rst page. On 04/10/2002 Plaintiff's spouse wrote check number 447 for $410.83 to SM
and SM cashed the check (exhibit 33). SM’s name is spelled “MATTH WES” in the
signature block on page 4.

51. Upon information and belief, SM failed to possess a license to conduct
business in the State of Illinois and was not licensed to offer or execute contracts with
Dlinois consumers.

ROTATION IN TRAUMA SURGERY

22. From 5/6/2002 to 5/31/2002, Plaintiff performed a senior clerkship in
trauma surgery at Cook County Hospital (CCH) in Chicago, IL (exhibit 34). This rotation
was performed at a Graduate Medical Education (GME) training program, accredited by
the Accreditation Council for Graduate Medical Education (ACGME), a federally funded
program under the U.S. Department of Health and Human Services, whose requirement
states “Please Note: The application and transcript must be sent by the medical school.
Applications received directly from you will not be processed.” (exhibit 35).

53. Plaintiff submits proof of 2 faxes (exhibit 36, fax number 2 and number 3)
and alleges the existence of a third fax (fax number 1).

34. Fax number 1- (alleged existence) allegedly sent from SM’s Florida office

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to SM’s Clinical Coordinator’s office in Chicago, probably sent on the morning of
5/3/2002, of at least 2 pages and then combined with the Clinical Coordinator’s records
and sent later that same day as pages 13 and 14 of fax number 2 to CCH.

35. Fax number 2 (exhibit 36)- sent on “May 03 02 12:11p”, of about 14
pages, sent from 773-342-1010 to CCH. Pages 1-12 are SM’s Clinical Coordinator’s
records from Chicago. Pages 13 and 14 are SM’s pre-Chicago official transcript.

56. Fax number 3 (exhibit 36)- sent on “08 02 04:56p”, of about 3 pages.
Although the word “May” cannot be seen, Plaintiff alleges this fax was sent on May 08,
2002, at 4:56 pm, 5 days after fax number 2.

57. Upon information and belief, this fax was sent directly from
SM in Florida to CCH in Chicago.

58. Both the Clinical Coordinator’s records and SM’s records are false. SM’s
Clinical Coordinator’s records (exhibit 36, fax number 2) state the Medicine rotation with
a physician’s signature which is not true. This Medicine rotation was performed in June,
2001, under the Physician who wrote this recommendation for Plaintiff stating so and
mailed it to him in this envelope (exhibit 37).

59. These copies of these faxes were placed in the Plaintiff's hand shortly after
this rotation began, by the secretary in the medical education office at CCH who offered
him a copy of his file. Plaintiff alleges 773-342-1010 was the fax number of the fax
machine located in the office of SM’s Clinical Coordinator, Dr. Frank Apantaku.

60. Ifthe defendants bad not sent these made-up records, the Plaintiff’s

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rotation would have come to a full stop and the alleged loss may have been discovered at
that time.

61. Aresidency is required to become a licensed physician. All residency
programs are unified GME programs. Plaintiff can never be a physician after his medical
school tainted him when it sent false records to a GME program.

Count IV- Pisintiff alleges special damages.

62. Plaintiff incorporates paragraphs 1-61 above as though fully restated
herein.

63. Defendant SM committed the conduct purposefully, ending Plaintiff's
medical career when SM’s Clinical Coordinator’s office pushed the “send” button on the
fax machine on May 03, 2002, at 12:11 pm., and when SM’s Florida office pushed the
“send” button again on May 08, 2002 at 4:56pm, by sending records it knew were false to
a GME training program.

RETURN TO TALLAHASSEE FROM CHICAGO, ILLINOIS

64. Plaintiff completed clinical training in Chicago and returned to Tallahassee
in March of 2003.

65. In March or April of 2003, Plaintiff received this invitation to graduation
mentioning St. Matthew’s University Cayman four times and that “the Board of
Directors has authorized St. Matthews University to pay for a two night stay” and a
“special offer” (exhibit 38).

66. Plaintiff called SM’s Florida office to make arrangements and spoke with

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Darlene Burke who stated he could not graduate until he paid about $22,000. Plaintiff
asked for an invoice. Ms. Burke then stated that Plaintiff could graduate if he filled out
these 4 forms SM mailed to him in Tallahassee (exhibit 39). Plaintiff followed Ms.
Burke’s directions and faxed these back to SM on 06/27/2003 (exhibit 40). Three days
later, on 6/30/2003, SM sent this fax to Plaintiff in Tallahassee (exhibit 41).

67. SM demands over $21,000. These 4 invoices use 2 different names, “St.
Matthew’s University” and “St. Matthew’s University (Cayman) Ltd.”.

68. Notably absent from this invoice is the CCH rotation. It should be on fax
page 4, invoice page 2, between “4/26/02” and “6/28/02”. The invoice skips the month of
May and starts again at the end of June. The date “Feb. 12. 1996” appears on each page.
After Plaintiff received this fax Darlene Burke stated to him “You have to pay whatever
SM says you owe”.

69. On 9/19/2003, the State of Florida administratively dissolved SM.

70. In March 2004, SM’s Registered Agent, Darlene Burke, filled out an
“Application by Foreign Corporation to Transact Business in Florida” for “St. Matthew’s
University (Cayman) Lid. and the State of Florida responded (exhibit 42).

71. In February of 2005, The State of California released this report (exhibit
43) stating:

page 2;
in August 2001. the Division became aware of serious turmoil on the
Belize campus resulting in the eventual loss of all facilities there.

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page 4;
Jerry Thomion, Ph_D., Vice President and Chief Operations Officer
(COO) has been with SMUSOM since Belize days. He is in charge of
operations at the head office in Florida, which includes admissions,
financial aid, marketing and advertising. He has also been the principal
contact between SMUSOM and the Division.

age 16;

Pas ‘Through prior personal contacts between representatives of SMUSOM
and St. Joseph's College of Maine “(SJCOM")}, an ongoing on-site and
distance-learning program leading to 4 Master's Degree in Health Science
Administration (MHSA)} was identified at SJCOM in Windham ME, and
deemed Suitable for the stated purposes. Negotiations between the two
institutions fed to formal agreements and the first SMUSOM students were
concurrently enrolled in the SJCOM MHSA program in the Year 2000.

72.  Axound this time, Plaintiff began receiving calls from individuals claiming
to be from the US Department of Education calling on behalf of SM.

73. Plaintiff's life and the lives of his parent cosigners became significantly
worse.

74. On or about 11/04/2005, Plaintiff met with Dr. Thornton in his office at
SM in Oviedo, Florida, and paid SM $1,000 and made at least 4 more payments of
$400.00 (exhibit 50). Plaintiff asked him for a transcript and certification to take the
medical board exam but he refused. He gave no indication that the school had lost
Plaintiffs records. Dr. Thornton sat bebind a deeply carved dark wood desk with a
matching giant bookcase.

75. In late 2005/early 2006, the new corporation, St. Matthew’s University
(Cayman) Lid, was merged into SMU Acquisition Corp., a Delaware corporation, and
the surviving corporation was named St. Matthew’s University, Inc., also a Delaware

corporation (exhibits 44, 45). The “Plan of Merger” states;

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Merged Company, without the neceuaity for any seperate ransfers. The Surviving Corpomtion
shali thereafter be xesponsibie and tiable for all lisbilities and obligations of the Merged
Company, end neither the rights of creditors uar any lens on the property of the Merged
Company shall be impaired by the merger. -

76. In 2006, Plaintiff’s divorce was finalized after his spouse became
unhinged (exhibits 46, 47).

77. On August 4, 2007, Plaintiff’s father, with whom he shared a common
- name, died (exhibit 48).

78. In 2008, Plaintiff made more payments to SM (exhibit 49) and received
this invoice (exhibit 50).

79. Sometime between late 2007 and the end of 2008, Plaintiff met with SM’s
Chancellor, Dr. Gary McCutcheon in his office at SM in Orlando, Florida. He gave
Plaintiff this card (exhibit 51) and Plaintiff wrote down what he said on the back. When
Plaintiff asked him if SM would certify him to take the board exam Dr. McCutcheon
stated, “not unless you’ve got a check for $17,000”. He then stated “You know, we could
just say you forged your board application”. Plaintiff flatly denies doing this. He gave no
indication that the school had lost Plaintiff’s records. A plastic model of an F-14 sat on
the shelf behind him.

80. In February 2009, in this email exchange with the Florida office (exhibit
52), SM’s Registrar, Jennifer Applequist, states Plaintiff was withdrawn from SM cn
April 24, 2003, which he had never heard before, that he would have to “address your
outstanding financial balance”, that items were “missing” from his file and that only after

16

 

 
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these issues were addressed could he apply for readmission to SM and take another test in
addition to the 6 additional tests Dr. McCutcheon listed. This date, April 24, 2003, is
around the time Plaintiff received the invitation to graduation and before Darlene Burke
sent the “Intent to Graduate Form”.

81. The exams she refers to as “missing” were all taken while seated at this
table, in this room, in this photo taken by Plaintiff (exhibit 21) and the “final grades”
faxed by SM’s Clinical Coordinator, Dr. Apantaku, from his office to CCH on 05/03/2002
at 12:12p (exhibit 36).

82. After this, Plaintiff felt like SM had moved the goalpost so far that it had
no intention of certifying him to sit for the board exam or give him an official transcript
or his degree.

83. In 2009, this email was sent to the ED (exhibit 53). It is shown redacted as
it was discovered. Plaintiff believes the substance of the letter and the reason for the
redactions are part of the who, what, when, where and how the Title IV loan program was
misrepresented to Plaintiff, why the ED refuses to discharge Plaintiffs loans obtained
under this program and why the ED would fail to provide these documents under
Plaintiff's Freedom of Information Act (FOIA) request 8 years later.

84. In 2010, he applied to another medical school and was accepted-pending
an official transcript from SM. When Plaintiff told the President of the school that SM
would not give him a transcript, he told him to ask one more time and just see what

happens.

Ey

 
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85. This time, Plaintiff did not call, visit or email. He sent ina form with
payment and received by mail the first official transcript SM had given him (exhibit 54).
86. This transcript contains multiple courses Plaintiff never took while

omitting multiple courses he did take.
87. Notably absent is the semester containing June 2001, and the CCH
rotation. On the left is the official transcript fax number 2 (exhibit 36) to CCH. On the

right is this official transcript (exhibit 54).

18

 

 
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Official transcri

 

pt faxed to CCH

 

on 05/03/2002 and again on “08 02”.

 

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Count V- Fraudulent/Negligent Misrepresentation

88. Plaintiff incorporates paragraphs 1-87 above as though fully restated
herein.

89. Defendant SM committed the conduct purposefully, providing Plaintiff
with materially false statements in writing- including exhibits 30, 32, 36, 41, 50, 51, 52,
54 and 59, each of which represents that Defendant SM had Plaintiff’s correct medical
school records when it did not.

90. Plaintiff alleges the defendants pattern of conduct over many years
constitutes malice because its acts and failures to act created the illusion of the
nonexistence of the loss.

91. Defendant SM made false/negligent representations of material facts,

with knowledge of the falsity and with intent to induce reliance.

92.  Plaintiff’s reliance, both actual and reasonable, was detrimental.

93. Plaintiff suffered harm.

94. Plaintiff left messages for Dr. Apantaku but he failed to respond. On
11/28/2611, at about 10:38, he called Chicago from Tallahassee and spoke to Dr.
Apantaku’s secretary who stated that Dr. Apantaku had received his messages, that his
folder was empty, that Dr. Apantaku had taken it and that he should call SM’s Clinical
Coordinator named Kim and he did about 4 minutes later. Kim told him she started in
2003, that SM did not keep records before 2003, that there were no tests or sign-in sheets

in his folder and that they were sent to the school. She told him to call SM’s Registrar and

20

 

 

 

 
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he did at about 10:50am. and it was Gloria from 10 years earlier. Gloria told him she did
not remember him, to send all documents he had about SM to her and stated “T don’t
know about your situation. I’ve only been here for about a year”. After seeing this
transcript and hearing this from Gloria, Plaintiff began looking for answers on his own.

95. In January and March of 2014, Plaintiff received 2 letters from the lenders
demanding he quickly sign new promissory notes for all Title IV loans. One letter gave
him 7 days, the other 48 hours (exhibits 55, 56).

96. About 3 months later, in June 2014, Plaintiff received 2 letters stating the
lenders had requested removal of Plaintiff from the Treasury Offset Program {TOP}
(exhibits 57, 58).

97. In July 2015 Plaintiff received this stating “co-signer/co-borrower”(exhibit
39).

98. In the summer of 2015, Plaintiff figured out what happened by comparing
the pattern of what was missing and different in his personal records, his personal
experiences as mentioned above and from these records obtained from public sources
(exhibits 22, 23, 42, 43, 44, 45, 53).

99. On 01/22/2016, Plaintiff filed a Chapter 7 Petition and Adversary
Complaint in this district, dismissed on 03/30/2016.

100. On 09/19/2016 FMS Investment Corp threatened litigation by the U.S.
Department of Justice (exhibit 60).

101. On 11/24/2017 Plaintiff mailed a FOIA letter to the ED requesting 4

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disclosures. The green card’s “Date of Delivery” he received in the mail had been
changed with red ink, not by the Plaintiff (exhibit 61).

102. On 12/13/2017 the ED signed for Plaintiff’s request to discharge his loans
containing 15 pages, 45 exhibits and a signed Oath and Affidavit but he did not receive a
response (exhibit 62).

103. On 01/31/2018, about 2 months after sending the FOIA request, Plaintiff
called the ED because he had not received a response. A person identifying as Kim Jones
answered the phone. She stated the ED had not received the FOLA request. Plaintiff stated
that a K Jones signed for it. She asked his name and stated there was “no entry in the
system for that name”. She asked him to resend it and he emailed it to her at 12:26pm
(exhibit 63). Later that day, Plaintiff received by email this unsigned FOIA response
stating, “This is in response to your letter dated November 5, 2017” (exhibit 64).
Plaintiff’s FOIA request was not dated 11/05/2017, it was dated 11/22/2017, mailed on
11/24/2017 and signed for on a delivery date written over.

104. On 2/01/2018, Plaintiff asked the ED to correct this error but he did not
receive a response (exhibit 65).

105. On or about 03/02/2018, Plaintiff received the ED’s FOIA response and 2
leiters. Letter 1 responds to requests 1 and 3 with answers to requests Plaintiff did not
make and notably skips request 2. Both pages are numbered “page 2” and Plaintiff's
address is wrong (exhibit 66). Letter 2 addresses question 4 but changed the words of the

request into something the Plaintiff did not request (exhibit 67).

22

 
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106. The ED’s response included 9 documents (exhibit 68), one for every HEA

loan at issue in this case, each titled;

IQEMNIFICATION AGREEMENT FOR THE ASSIGNMENT OF FEOERAL
FAMILY EDUCATION LOAN WITH DANAGED PROMISSORY NOTE OR
PROMISSORY NOTE WITH UNINITIALED ALTERATIONS

Each states:

agrees that if any loan assigned to the Secretary by the Guaranty. Agency”
without an original promissory note or certified true eepy in good condition
should become uncollectable by reason of such damaged promissory note or
because it contains alterations without the borrower's initials, or if the
Secretary, in his sele discretion, determines that the loam cannot be enforced
because of the damaged or altered promissory note, the Secretary is entitled to
recover from the Guaranty Agency the amount of reinsurance attributable to such
loan previously paid to the Guaranty Agency, plus Interest from the date the
reinsurance was paid. The Secretary may recover. amounts due. under this
agreement by withholding such amounts from any payments due ta the Suaranty
Agency from the Oepartment of Education.

107. They are each dated 06/11/2014.

108. The ED keeps Plaintiff in TOP (exhibit 69).

109. Plaintiff mailed a timely Administrative Appeal of this FOLA request on
05/25/2018, but did not receive a response (exhibit 70).

110. Three months later, in August 2018, the ED hired a debt collector who
demanded $226,410.39. When Plaintiff requested validation, the collector threatened

“litigation through the U.S. Department of Justice” (exhibit 71).

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests the following relief:
(1) that this Court enter an Order determining the debt owed by Plaintiff is

dischargeable and any other such relief'as the Court deems just and proper.

23

 

 

 
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(2) award damages to Plaintiff as a lump sum amount equal to the annual “Median
Pay” of a Physician according to US Department of Labor statistics equal to a period of
35 years totaling $6,552,000, plus interest at the maximum allowable rate or whatever
amount a jury finds to be reasonable and just compensation and any other relief as the
Court deems just and proper.

(3) award treble damages totaling $19,656,000 as to the aggravating
circumstances which would justify an award of punitive damages on all causes of action
or whatever amount a jury finds to be reasonable and just compensation and any other
relief as the Court deems just and proper.

Plaintiff respectfully request the above relief and such other and further relief as
this Court may deem just and proper.

Demand for Jury Trial

Plaintiff demands a trial by Jury and consents to have the jury trial conducted by a
bankruptcy judge.

RESPECTFULLY SUBMITTED,

DATED: 7g pox PLAINTIFF

   

ian Rodney Rooks Jr. «

 

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FLNB Local Form 6

Julian Rodney Rooks Jr.- self represented

St. Joseph's College of Maine

y

United States Bankruptcy Court
Northern District of Florida

EXHIBIT LISF

St. Matthew’s University (Cayman) Ltd. Case Number:

St. Matthew's University Inc.

United States Department of Education

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRESIDING JUDOE PLAINTIFF'S ATTORNEY DIEFENDANT'S ATTORNEY
Honorable Karen K. Specie
HEARING TRIAL DATE(S) COURT REPORTER COURTROOM DEPUPY
PLE. | DEP. DAFF
NO. | ONG. | OFFERED | MARKED | ADMITTED DESCRIPTION OF EXHIBITS
| O7 722/20? 1 page 25. SM student catalog sent to Plaimufl in Talabassee in 1998.
2 07/22/2021 envelope postmarked “FAN 07°99", 3 letters inside envelope signed by
Paul] L. Selbst, Ph.D. . Elaine M. Trumble. Krista K. Rodin, Ph.D.
3 OF/22202 | envelope postmarked “JAN 07°99", letter inside envelope signed by Myra Stokes.
4d O7/22/203 | email from Plaintifl and response by Dr. Jerry Thomiton dated March 10/11, 1999.
5 07/222207 | check number 688 written by Plaintiff to SM on March 11,1999 for $3,250.00
6 07/22/2021 Application and Promissory Note for Federal Stafford Loans.
7 OT 222021 memo received in Plaintiff's SM schoo! mailbox in 1999 in Belize signed by Paul Selbst
8 07/22/2021 memo received in Plaintiffs 5M school maifbox in 1999 in Belize signed by
Paul Setbst with fax header af “Aue-30-99 03:47P ST JOSEPHS COLLEGE”.
9 Po2i2021 check number 671 written by Plaintiff to $M on October § 1999 for $3250.00
i0 O7/22/2021 receipt number 065 dated Oct. 8, 19909. “Ch 3 671",
UH OT 22/2021 Application and Promissory Note for Federal Stafford Loans.
i2 7/22/7202 meeting with Dr. Renae Sersland on £ 1/29/1999,
13 O07 /22/202 1 Sallie Mac Loan Application.
14 07/22/2021 SLM letter,
15 07/2202] Fax from Roger Courtney's company, Global Education Resources. 10 Plaintiff in Tallahassee.
16 0722/2071 Student Application from Student Finance Corporation mailed to Plaintiff in Tallahassee.
\7 07/22/2021] Cosigner Application from Student Finance Corporation mailed to Plaintiff in Tallahassed.
18 07/22/2021 5M catalog, page thirty one listing Frank Apantaku. M.D. under Clinical Faculty and Preceptors.
i9 07/22/2021 Card given to Plaintiff by Dr. Frank Apantaku,
20 07/22/2021 Photograph taken Dy Plaintil in Chicago. Ulinois in early 2001 through window of
oardroom adjacent to Dr. Anantaku's office
Zt 17222021 Photograph taken by Plaintiff in Chicago Hlinois in early 2001 inside boardroom
hdjacent to Dr. Apantaku’s office.
22 07/22/2021 Self-authenlicating article published in The San Pedre Sum, Vol. 11, No.23, on June 14, 2001.
23 O7 (23/997 | Self-authenticating article published in The San Pedre Sun, Vol. | 1, Ne.25, on June 28, 2001.
74 D772 272021 Sd transcript sent to Plaintuf in Chicago. Hlinois stating “IP” = in progress.
25 07/22/2021 $J course introduction letter sent bv SJ to Plaintulin Chicago, lilinois dated “December 21.2000".
26 07/22/2023 SJ grade report sent by SJ to Plainlitfin Chicago, [Hinois with course completion date of "8/27/2001"

 

 

*Includy a nouition as tothe location ef any exhibit nat held with the case Me or not available because of size.

Page | of 3 Pages
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FLNB Local Form 6

EXHIBIT LIST - CONTINUATION

 

Julian Rodney Rooks Jr.- self represented — vs.

$1. Joseph's College of Maine CASE NO.
SL Matthew's University (Cay mint Leb,
St. Mathew 's University Inc.

United States Department of Education

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PLP. | DEF. DATE
wo. | NO. | OFFERED | MARKED | ADMITTED DESCRIPTION OF EXHIBITS
27 07222021 Call with Roger Courtney on 06/13/2001 at 4:57.
28 67/22/20? 1 Call with Roger Courtney on 07/05/2001 at 4:21,
29 07/22/2021 Check number 396 to SFC for $400.00 dated 07/06/2001.
30 O7/227202 1 Fax of 3 pages from $M to Plaintiff in Chicago. Ulingis dated 08/26/2001 at 12:35.
3| 07/22/2021 Fax of 3 documents sent by Plaintiff rom Chicago. Ulinois to 708-358-1447.
32 07/22/9071 Four documents sent from SM to Plaintiff in Chicago, Illmois.
33 07/22/7202 | Check to SM. number 477 dated 04/10/2002 for $410.83.
4 07 22/2021 Photograph of PlaintilT in front of Cook County Hospital. Chicago, [linois, ken beween
05/06/2002 and 04/3 1/2002 and during trauma surgery clerkship.
38 7/21/2071 Cook County Hospital requirement stating “ Applications received directly from you will net be processed”.
36 O7/22/202 | 14 pages. Copies af faxes given to Plaintiff by Medical Education Office at Cook County Hospitad
during trauma surgery clerkship.
37 7/22/2031 7 pages, recommendation letter and envelope it was received in.
38 07/22/2021] Invilation to graduation mailed fram SM to Platt in Tallahassee.
39 07/22/2021 Four pages mailed from $M to Plaintiff in Vallahassee dated 06/24/03.
40 0702/2071 Fax wansmission of four pages on 06/27/2003 from EASY MAIL MAHAN in Pallahassec ta SM.
4i 07/22/2023} Six pages lotal. Five page fax with | cover sheet sent on 06/30/2003 from $M to Plaintiff in Tallahassee.
42 07/22/2021 Eight pages. Application by Foreign Corporation to Transact Business in Florida dated March 2004.
43 07/22/2602 34 pages. Report by the State of California, Division of Licensing, dated February 2005,
44 07/22/2021 4+ pages. Application dated 08/18/2005.
45 OF 22.2021 1G pages. Plan of Merger, exhibit A (page $) dated 01/30/2006.
46 O7/22/202 | See Compact disk. Warning domestic violence. Year is nol accurate. Year is 2004 not 2003.
No audio. Edited for time but not content.
digo” pon
6-10-2003 17:(5:01- Plaintiffs spouse alacks medical textbooks, strikes Plaintiff,
17:45:40- Plaintill’s spouse chokes Plaintiff.
17:18:56- Plaintifl spouse strikes Plaintiff,
47 07/22/2023 See Compact disk. Warning domestic violence. Year is not accurate. Year is 2064 not 2003.
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6-14-2003 20:44.28- Plaintill’s spouse strikes Plaintiff

 

20:45:43~- Plaintill’s spouse chokes Plaintiff, picks up medical textbook and

 

throws it off baicony janding on downstairs sofa.

 

6-|1-2003 20:42:22- Plaintiff's spouse grabs medical textbook.

 

20:42:50- Plaintiff's spouse throws pen at Plaintif?,

 

 

 

 

 

 

 

 

 

 

Page 2 of 3 Pages
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FLNB Local Form 6

EXHIBIT LIST - CONTINUATION

 

Julian Rodney Rooks Je.- self represented vs.

St. Joseph's College of Maine CASE NO.
Si, Matthew's University (Cayman) Li.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

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PLE ODEF. DATE
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4Feont. date © n padition
6-11-2005  26:20:56- Plaintiff's spouse grabs medical textbook.
20:20:06- Plaintiff's spouse grabs all meclical textbooks.
20:2 1:30- Plaintiffs spouse strikes Plaintiff.
6-12-2003 18:02:13- Plaintiff's spouse strikes Plaintiff.
18:02:34- Plaintilf’s spouse rolls back-and-forth on floor.
48 07/22/2021] See compact disk: Deathbed statement of Julian Rodney Rooks Sr.
” 07:22/202| Payments to SM in 2008.
a0 077227202 | SM invoice dated 9/1/2008 including date of Plainuil’s meeting with Dr. Thornton at SM’s Florida
office 1104/2005.
31 07/22/2902] Card given to Plaintiff bv SM Chancellor Dr. McCutcheon at meeting in Orlando, Florida Office.
52 07/22/2021 6 pages. Email between Plaintiff and SM Registrar Jennifer Applequist in January and February of 2009,
33 07/22/202 | 7 pages. Dacuments sent to ED dated June 22, 2019.
34 07/22/2025 2 pages. page | is SM official transcript. page 7 is envelope received in,
as 07 /22202 1 General Revenue Corp letier dated fan G7 2014,
56 07/22/2021 Financial Asset Management Systems Inc. fetter dated 03/12/14.
57 07/22/2021 Finance Authority of Maine leuer dated June 14,2014.
58 O7/22/202 | LISA Funds letter dated June 15, 2014,
59 QO7/22/2021 Alfied Interstate letter aaming SM and referring lo Plaintiff as “co-signerco-borrower” dated 07/20-201 3,
60 07227202 | FMS letter threatening (SDOJ litigation dated 09/19/2616.
6t 07/22/202 | Plaintiffs four requests made under the Freedom of Information Act.
62 07/22/2021 Plaintiff's request for discharge signed for by the U.S. Department of Education.
63 07/22/20? | Plaintiff re-sends FOLA request by email to ED on 01/31/2018.
64 0722202} FOIA response dated January 31. 2018 incorrectly states Plaintil's leuter dated November 5, 2647,
65 07929071 Letter requesting ED to correct records dated February 1, 2018.
66 07/22/2021 2 pages, ED FOLA response letter 1 dated March 2, 2018.
a7 07/22/2021 2 pages. ED FOLA response fener 2 dated February 14, 2018.
68 07/22/7202 | 9 pages. contained in FOLA response. titled “IDEMNIFICATION AGREEMENT’.
69 07/22/2021 ‘Treasury Offset Program letter dated May 23, 2018
70 O122/202 | Plaindff’s Administrative Appeal of FOIA request signed for on 05/25/2018.
71 07/22/2021 Demand for $227.21 1.83 from Action Financial Services, LLC dated September 6, 2018.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
